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                                       Malek Harrison
                                     242-19 135th Avenue
                                     Rosedale, NY 11422                                          RECEJVED
                                                                june 30, 2014               JUL 0 '1 2014
    VIA REGULAR MAIL                                                                     EDNr PRO SE 1JFF1C£
    Honorable judge joseph F. Bianco
    United States District Court                                                       .. f: "
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    Eastern District of New York                                     U.S. DIS,
    100 Federal Plaza
    Central Islip, New York 11722                                    * . JUL o7 2014 *
           Re:     Harrison v. State of New York. eta/                  LONG iSL..A.ND OFFICE
                   Docket No.: CV 14-01296

    Honorable judge Bianco:

             I, Malek Harrison, prose plaintiff in the above-entitled matter, do,
    respectfully, submit this letter in response to defendant Geoffrey Prime's June 24,
    2014letter requesting that the Honorable Judge issue an order "striking plaintiffs
    'sur-reply', or in the alternative grant him leave to file additional papers to address
    the arguments raised therein. Plaintiff assures the Court that his sur-reply to
    Defendant's Reply in Further Support of Motion to Dismiss was submitted in good
    faith and without prior knowledge of the rules regarding such limitations pertaining
    to the number of responses required or permitted. Plaintiff took careful
    consideration in his reply not to raise any new arguments, but only to expound upon
    the arguments made in the complaint to bring light to the facts that helped to
    generate his claims and to rebut the claim made by Defendant that there was no
    basis for such claims. There is a great many of Court rulings supporting such
    allowances given to pro se litigants by the Court on the issue of latitude given, e.g.,
    "We now consider whether respondent's complaint states a cognizable 1983 claim.
    The handwritten pro se document is to be liberally construed. As the Court
    unanimously held in Haines v. Kerner, 404 U.S. 519 (1972), a pro se complaint,
    "however in-artfully pleaded," must be held to "less stringent standards than formal
    pleadings drafted by lawyers" and can only be dismissed for failure to state a claim
    if it appears "beyond doubt that the plaintiff can prove no set of facts in support of
    his claim which would entitle him to relief." Id., at 520-521, quoting Conley v.
    Gibson, 355 U.S. 41,45-46 (1957)." Hughes v. Rowe et al. 449 U.S. 5, 101 S. Ct. 173,66
    L. Ed. 2d 163,49 U .S.L. W .3346.

           "All pleadings shall be so construed as to do substantial justice." Haines v.
           Keaner, et al. 404 U.S. 519,92 s. Ct. 594,30 L. Ed. 2d 652. "Rule 8(t) provides
           that 'pleadings shall be so construed as to do substantial justice.' We
           frequently have stated that pro se pleadings are to be given a liberal
           construction.''Estelle, Corrections Director, et al. v. Gample 29 U.S. 97, 97 S.
           Ct. 285,50 L. Ed. 2d 251.




                                                         Respectfully submittljd,
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            Many judges give prose litigants considerable leeway, in light of their lack of
    legal expertise. See, e.g., Pabon v. Wright, 459 F.3d 241 (2d Cir. 2006) (allowing pro
    se plaintiff to argue Fourteenth Amendment due process claim on appeal despite
    plaintiffs failure to present the argument at the lower court); Ohuche v. Merck &
    Co., Inc., 2012 U.S. Dist. LEXIS 147483 (S.D.N.Y. Oct. 12, 2012) (plaintiffs complaint
    "must be construed to raise the strongest arguments possible"); Brin v. Kansas, 101
    F. Supp. 2d 1343 (D. Kan. 2000) (relaxing service requirements for prose litigant).
    This can be particularly true in class actions, where judges may issue orders
    regarding notice "to protect class members and fairly conduct the action." See Fed.
    R. Civ. P. 23(d)(1)(B).

            To nullify any possibility of unfairness to Defendant Prime, Plaintiff prays
    that the Honorable judge grants Prime leave to file additional papers in response to
    Plaintiffs 'sur-reply' and that all the facts presented be considered as a basis for the
    Court's ruling. Plaintiffs only hope is to have all the facts presented and that he has
    a fair opportunity to present his case further to a jury of his peers.

                                                       Respectfully submitted,

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                                                      Malek Harrison

    cc:    All Defendants (via regular mail)
           Personal file
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